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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                   v.                         :       Case No. 23-CR-00427 (DLF)
                                              :
DAN EDWIN WILSON                              :
                                              :
                        Defendants.           :


                                   MOTION TO WITHDRAW


          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully moves the Court to allow Assistant United States

Attorney Mindy Deranek to withdraw as co-counsel in this matter. Assistant United States Attorney

Jennifer Blackwell will continue to represent the government in any further proceedings in this

matter.



                                              Respectfully submitted,

                                              EDWARD R. MARTIN, JR.
                                              United States Attorney
                                              DC Bar No. 481866


                                       By:    /s/ Mindy Deranek
                                              MINDY DERANEK
                                              Washington State Bar No. 43085
                                              Assistant United States Attorney
                                              United States Attorney’s Office
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                               CERTIFICATE OF SERVICE

       On this 30th day of January 2025, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.

                                           /s/ Mindy Deranek
                                           MINDY DERANEK
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